                                                           Notice of Removal


                           Exhibit A
               Summons and Complaint




Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 1 of 53 PageID #: 7
CIRCUIT COURT SUMMONS                                                                        NASHVILLE, TENNESSEE

                             e~ 3: 2~          STATE OF TENNESSEE                                          ~ First
                                                 DAVIDSON COUNTY                                           ~ Alias
                               r    ~-        20T" JUDICIAL DISTRICT                                       ~ Pluries


                                                                                 ~
 Brian Hoogs                                                                           CIVIL ACTION 31 o l
                                                                                       DOCKET NO. ~~~



                                                                     Plaintiff         Method of Service:
                                                                                       ~ Davidson County Sheriff
  Vs.
                                                                                       ~ Out of County Sheriff

  WafFle House Inc.                                                                    1-1 Secretary of State

  Corporation Service Company, Registered Agent                                        ~x Certified Mail

  2908 Poston Ave                                                                      F] Personal Service

  Nashville, TN 37203                                                                  0 Commissioner of Insurance

 To the above named Defendant:

 You are summoned to appear and defend a civil action filed against you in the cui /t Court, 1 Public Square, Room 302,
                                                                                  Cir~
 P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
 summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
 the Plaintifft;s attorney at the address listed below.

 In case of y~our failure to defend this action by the above date, judgment by default will be rendered against you for the
 relief demanded in t e complaint.
                                                                                      RICHARD R. RO KER
 ISSUED:               Z~ I6                                                                i ou   c
                                                                                        Davidson Co        T nessee

                                                                          By:                   v- ^
                                                                                              uepLAy clerKi


   ATTORNEY FOR PLAINTIFF            I Thomas W. Shumate, IV; Meridian Law, PLLC
                  or
                                     I 2002 Richard Jones Road, Suite B-200

        PLAINTIFF'S ADDRESS           I,Nashville, TN 37215

 TO THE SHERIFF:

        Please execute this summons and make your return hereon as provided by law.

                                                                                        RICHARD R. ROOKER
                                                                                              Circuit Courter


 Received this summons for service this           day of                         20



                                                                                                SHERIFF
                        ~ To request an ADA accommodation, please contact Dart Gore at (615) 880-3309.


          Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 2 of 53 PageID #: 8
                                                                                                                                               r




                                       RETURN ON PERSONAL SERVICE OF SUMMONS

I hereby certify and return that on the                              day of                                                          20             , I:


                     served this summons and complaint/petition on

                                                                                                                      in the following manner:

               ,

                     failed to serve this summons within 90 days after its issuance because




                                                                                            Sheriff/Process Server

                                             RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the                       day of                                 , 20        1 sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                to the defendant,                                                            On the                        day of

                            ,    .                     , I received the return receipt for said registered or certified mail, which had been signed

by                                         on the                   day of                                             .20       .        Said return

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.




SWORN TO AND SUBSCRIBED BEFORE ME ON THIS

             DAY OF                                          20                              PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                             AUTHORIZED BY STATUTE TO SERVE PROCESS


            NOTARY PUBLIC,or                        DEPUTY CLERK

MY COMMISSION EXPIRES:



                                     NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal properry exemption from execution or seizure to satisfy a judgment. If a judgment                             ATTACH
should be entered against you in this action and you wish to claim property as exempt, you
must file a written list, under oath, of the items you wish to claim as exempt with the clerk of                       RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless it is filed before the judgment becomes final, it will not be effective as to any                      RECEIPT
execution or garnishment issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of necessary wearing apparel                            HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the family Bible, and school books. Should any of these items be seized,               (IF APPLICABLE)
you would have the right to recover them. If you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer.

STATE OF TENNESSEE                                  I, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVIDSON                                  do hereby certify this to be a true and correct copy of the original summons issued
                                                    in this case.
                                                                                 RICHARD R. ROOKER, CLERK
(To be completed only if
copy certification required.)
                                                                                   By:                                                             C.


             Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 3 of 53 PageID #: 9
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                             j  C
                                i._y- ~".
             IN THE CIRCUIT    COURT      FOR DAVIDSON COUNTY, TENNESSEE
                1016 NOV 28 PM 3: 25
     BRIAN HOOGSr.:`9.;e.nR                             )
                          • Vi~\_r jl.


           Plaintiff,,
                                         '              )     Case No. ~
     vs.                                                )
                                                        )      JURx DEMAND
     WAFFLE HOUSE, INC.                                 )
     and MM SOUTH WAFFLES, INC.                         )
                                                        )
            Defendant.                                  )


                                             COMPLAINT


           Comes now the Plaintiff, Brian Hoogs, by and through counsel, and states the following

     causes of action against the Defendants, Mid South Waflles, Inc. and Waffle House, Inc.:

                                             I.     Parties

           1.      PlaintiEf, Brian Hoogs ("Ms. Hoogs") is a citizen and resident of Davidson

     County, Tennessee.

            2.     Defendant, Wa1lle House, Inc. ("Waffle House"), is a Georgia corporation

     registered to do business in Tennessee. Waft1e House may be served on its registered agent,

     Corporation Service Company, located at 2908 Poston Ave, Nashville, Davidson County,

     Tennessee 37203.

            3.     Defendant, Mid South Waflles, Inc. ("Mid South Waffles"), is a Georgia

     corporation registered to do business in Tennessee. Mid South Waffles is a subsidiary of Waffle

     House and may be served on its registered agent, Corporation Service Company, located at 2908.

     Poston Ave, Nashville, Davidson County, Tennessee 37203.




       Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 4 of 53 PageID #: 10
~                                    II. Jurisdiction and Venue

             4.    This Court has subject matter jurisdiction over this dispute pursuant to Tenn. Code

    Ann. § 16-10-113, et seq.

             S.    This Court has personal jurisdiction over Defendants. See Tenn. Code Ann. § 20-

    2-202.

             6.    This Court is the proper venue to hear this dispute. All or substantially all of the

    events or omissions giving rise to Mr. Hoogs' claims occuned in Davidson County, Tennessee.

    See Tenn. Code Ann. § 20-4-101.

             7.    This is an action for declaratory relief, injunctive relief, equitable relief, and

    damages for unlawful employment practices under the Tennessee Public Protection Act, Tenn.

    Code Ann. § 50-1-304; Title VII of the Civil Rights Act, 42 U.S.C. § 2000e et seq. (included upon

    administrative exhaustion); Tennessee Human Rights Act, Tenn. Code Ann. § 4-21-401; the

    American's with Disabilities Act, 42 U.S.C. § 12101 et seq., as amended by the ADA Amendments

    Act of 2008 (included upon administrative exhaustion); the Tennessee Disability Act, Tenn. Code

    Ann. § 8-50-103; and Tennessee common law. Plaintiff timely filed a Charge with the Equal

    Employment Opportunity Commission to vindicate rights pursuant to Title VII of the Civil Rights

    Act and the Americans with Disabilities Act, as amended by the ADA Amendments Act of 2008.

    Plaintiff incorporates by reference, with the intent to later amend upon receipt of his Notice of Suit

    Rights, to include federal claims under Title VII and the ADA, as those claims are related to the

    same case and controversy.




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      Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 5 of 53 PageID #: 11
q
                                           M. Facts

           8.    From approximately August 2013 to January 14, 2016, Mr. Hoogs was an employee

    of Mid South Waffles and Waffle House. Prior to December 3, 2015, Mr. Hoogs was a Division

    Manager.

           9.     As a Division Manager, Mr. Hoogs was entitled to valuable stock options and

    benefits.

           10.   As a Division Manager, Mr. Hoogs was entitled to periodic performance bonuses.

           11.   Waftle House has more than 500 employees.

           12.   Mid South Waffles has more than 500 employees.

           13.   During his time as a Division Manager, Mr. Hoogs' immediate supervisor was Sam

    Byrd ("Mr. Byrd ").

           14.   Throughout his employment with Mid South Waffles and Waffle House, Mr.

    Hoogs was an exemplary manager who received no discipline for his performance.

           15.   Prior to November 23, 2015, Mr. Hoogs witnessed Mr. Byrd make sexually and

    racially discriminatory statements towards several Waffle House and Mid South Waffles

    employees. These remarks created a hostile work environment for Mr. Hoogs and other

    employees.

           16.   On November 23, 2015, Mr. Hoogs reported Mr. Byrd's sexually and racially

    discriminatory statements and other matters that created a hostile work environment to Waffle

    House and Mid South Waffles' Senior Vice President, Joe Rogers ("Mr. Rogers").




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      Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 6 of 53 PageID #: 12
`             17.      On November 27, 2015, Mr. Hoogs reported additional sexually and racially

    discriminatory and harassing statements by Mr. Byrd to Mx. Rogers, as well as other matters that

    created a hostile work environment.

              18.      Six days later, on December 3, 2015, Mr. Hoogs was demoted from Division

    Manager to District Manager, resulting in a significant reduction in compensation and benefits.

              19.      Despite this demotion, Mr. Hoogs continued to perform his job responsibilities

    exceptionally, receiving no discipline.

              20.      In December 2015, Mr. Hoogs was demoted again without eacplanation to Store

    Manager, resulting in another significant reduction in compensation and benefits.

              21.      One month after his initial demotion, in January, 2016, Mr. Hoogs' employment

    was terminated without explanation by Mid South Waffles and Waffle House.

              22.      Mr. Hoogs' two demotions and subsequent termination were the result of his

    repordng of Mr. Byrd's sexually and racially discriminatory and harassing remarks.

              23.      As a direct and prouimate result of the Defendants' unlawful acts, Mr. Hoogs

    suffered and continues to suffer emotional pain, suffering, professional and personal

    embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benefits.

                                                 IV. Claims

       A.           Violation of the Tennessee Public Protection Act, Tenn. Code Ann. § 50-1-304

              24.      Mr. Hoogs incorporates by reference paragraphs 1-23 of his Complaint as if restated

    herein.

              25.      Mr. Hoogs was an employee of Waffle House and Mid South Waflles.


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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 7 of 53 PageID #: 13
?
            26.       Hostile work environment sexual and racial harassment is prohibited by Title VII

    of the Civil Rights Act of 1964.42 U.S.C. § 2000e-2.

            27.       Hostile work environment sexual and racial harassment is prohibited by the

    Tennessee Human Rights Act. Tenn. Code Ann. § 4-21-401

            28.       Mr. Hoogs refused to stay silent about the illegal sexual and racial harassment he

    witnessed being performed by Mr. Byrd.

            29.       Mr. Hoogs twice reported the illegal harassment to Mr. Byrd's supervisor, Mr.

    Rogers.

            30.       Because Mr. Hoogs reported the illegal harassment to Mr. Rogers, his employment

    was terminated.

           31.        Reporting illegal sexual and racial harassment in no way served Mr. Hoogs' interest.

    He reported the abuse in the interest of protecting the well-being of the employees under his

    responsibility.

           32.        Reporting illegal sexual and racial harassment serves the public interest of

    Tennessee.

           33.        As a direct and proximate result of the Defendants' unlawful acts, Mr. Hoogs

    suffered and continues to suffer emotional pain, suffering, professional and personal

    embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benefits.

           34.        As a result, Mr. Hoogs is entitled to recover his damages, including lost wages and

    benefits, compensatory and punitive damages, attorneys' fees, costs, interest, front pay and

    benefits, and any other legal and equitable relief to which he may be entitled.


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      Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 8 of 53 PageID #: 14
          B.    Retaliation in Violation of the Title VII of the Civil Rights Act, 42 U.S.C. §
          2000e et seq. (inciuded upon exhaustion) and the Tennessee Human Rights Act,
          Tenn. Code Ann. § 4-21-401

          35.   Mr. Hoogs incorporates by reference paragraphs 1-34 of his Complaint as if restated

herein.

          36.   Waffle House has more than five hundred (500) employees.

          37.   Mid South Waffles has more than five hundred (500) employees.

          38.   Mr. Hoogs was qualified for his position.

          39.   Mr. Hoogs performed his duties diligently and received no reprimands for his

performance during his employment.

          40.   Mr. Hoogs engaged in protected activity by complaining about acts in violation of

the Tennessee Human Rights Act (and Title VII upon administrative exhaustion), including

ongoing racial discrimination and sexual harassment.

          41.   In retaliation for Mr. Hoogs' protected activities, he was subjected to immediate

hostility, multiple demotions within days of complaining, and his employment was ultimately

terminated.

          42.   Mr. Hoogs' two demotions and ultimate termination was based entirely on his

legaUy protected reporting of racial and sexual harassment by Mr. Byrd.

          43.    Through their actions, Defendants deprived Mr. Hoogs of equal employment

opportunities and benefits due to him due to his willingness to oppose such practices.

          44.   Defendants' actions in demoting and terminating Mr. Hoogs and causing him to

suifer through a hostile work environment were committed with reckless disregard for his right to




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  Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 9 of 53 PageID #: 15
'   be free from retaliation because of his opposition to unlawful practices in violation of the Tennessee

    Human Rights Act (and Title VII upon administrative exhaustion).

              45.   Mr. Hoogs filed an unlawful retaliation charge with the Equal Employment

    Opportunity Conunission on September 22, 2016.

              46.   As a direct and proximate result of the Defendants' unlawful acts, including

    Defendants' discriminatory and harassing conduct and its creation of a hostile work environment,

    Mr. Hoogs suffered and continues to suffer emotional pain, suffering, professional and personal

    embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benefits. He is entitled to all damages allowable under the Tennessee Human Rights Act, including

    attorneys' fees.

              47.   Mr. Hoogs will amend his Complaint to include claims under Title VII for

    retaliation upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

              C.    Discrimination in Violation of the Title VII of the Civil Rights Act, 42 U.S.C.
              § 2000e et seq. (included upon exhaustion) and the Tennessee Human Rights Act,
              Tenn. Code Ann. § 4-21-301 and -401

              48.   Mr. Hoogs incorporates by reference paragraphs 1-47 of his complaint as if restated

    herein.

              49.   Waflle House has more than five hundred (500) employees.

              50.   Mid South WaEtles has more than five hundred (500) employees.

              51.   Mr. Hoogs is an Asian-American.

              52.   Mr. Hoogs' was the subject of unwelcome verbal conduct by Mr. Byrd involving

    Mr. Hoogs' status as an Asian-American.




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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 10 of 53 PageID #: 16
'             53.   The harassing statements made by Mr. Byrd unreasonably interfered with Mr.

    Hoogs' work environment and created an intimidating, hostile, and offensive work environment.

              54.   Mr. Hoogs provided notice of this conduct to Waffle House and Mid South Waffles

    through their Vice President, Mr. Rogers.

              55.   Waffle House and Mid South Waftle's did nothing to address the intimidating,

    hostile, and offensive work environment in respons.e to Mr. Hoogs' legally protected notice.

              56.   Mr. Hoogs filed a racial harassment charge with the Equal Employment

    Opportunity Commission on September 22, 2016.

              57.   As a direct and proximate result of the Defendants' unlawful discrimination on the

    basis of his race and national origin, as well as its creation of a hostile work environment, Mr. Hoogs

    suffered and continues to suffer emotional pain, suffering, professional and personal

    embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benefits.

              58.   Mr. Hoogs will amend his Complaint to include claims under Title VII for

    discrimination upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

              D.    Discrimination in Violation of the American's with Disabilities Act, 42 U.S.C.
              § 12101 et seq., as amended by the ADA Amendments Act of 2008 (included upon
              exhaustion) and the Tennessee Disability Act, Tenn. Code Ann. § 8-50-103

              59.   Mr. Hoogs incorporates by reference paragraphs 1-58 of his complaint as if restated

    herein.

              60.   Mr. Hoogs is a qualified individual with a disability and/or perceived as an

    individual with a disability. Mr. Hoogs was hired by Defendants on or around August 2013.




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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 11 of 53 PageID #: 17
`          61.       Mr. Hoogs was afflicted with health issues, including depression, anxiety, and

    attention deficit disorder ("ADD"), throughout his employment by Defendants. Mr. Hoogs

    sought medical treatment for those issues.

           62.       Mr. Hoogs made his health conditions and impairments known to Defendants

    during his employment.

           63.       Mr. Hoogs was able to perform the essential functions of his job with or without

    reasonable accommodation.

           64.       Mr. Hoogs requested accommodation from Defendants shordy before his

    tennination.

           65.       Defendants refused the requested accommodation and instead further demoted

    Mr. Hoogs and eventually terminated his employment.

           66.       Defendants failed to engage in an interactive process to determine if

    accommodation could be made without undue burden or hardship.

           67.       Defendants discriminated against Mr. Hoogs on the basis of his disability and/or

    perceived disability.

           68.       Defendants terminated Mr. Hoogs' employment as a result of his disability and/or

    perceived disability.

           69.       Defendants' actions against Mr. Hoogs were pretext for discrimination, retaliation,

    and interference and were against public policy.

           70.       Defendants acted willfully and maliciously or with reckless indfference to Mr.

    Hoogs' rights.




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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 12 of 53 PageID #: 18
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`             71.   As a direct and proximate result of Defendants' unlawful acts, Mr. Hoogs has lost

    income and other benefits of employment; sutfered and continues to suffer emotional pain,

    sutfering, professional and personal embarrassment, humiliation, loss of enjoyment of life,

    inconvenience, damage to his reputation, emotional distress, undue stress and anxiety,

    exacerbation of his medical conditions and loss of enjoyment of life; and incurred attorney's fees

    and expenses.

              72.   As a result, Mr. Hoogs is entitled to recover his damages, including lost wages and

    benefits, compensatory and punitive damages, attorneys' fees, costs, interest, front pay and

    benefits, and any other legal and equitable relief to which he may be entitled.

              73.   Mr. Hoogs will amend his Complaint to include claims under the ADA for

    discrimination upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

                                          V.       Prayer for Relief

              WHffiREFORE, PREMISES CONSIDERED, Mr. Hoogs prays for the following relief

              1.    That proper process issue and be served upon Waffle House and Mid South Waffles

    and that they be required to appear and answer this Complaint within the time required by law;

              2.    That this case be tried to a jury of six;

              3.    Enter a judgment in favor of Plaintifff and against Defendants on all counts in this

    action;

              4.    That Plaintifff be awarded a declaratory judgment that Defendants violated the

    aforementioned laws identified in this Complaint;

              S.    That this Court enter a permanent injunction prohibiting Defendants from

    engaging in unlawful employment practices;


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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 13 of 53 PageID #: 19
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           4.      That. tfie: 00.ort award Plaintiff `back pay and fibrit pay ih 'cfn aniount to 'be




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           8.      Thax fhe Court-award.. Plaintiff punitive and. liquidated damages;

           9.      That-the,c-6                             reasonab le    Meys' fees expenses,, And costs

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                                                      Attorneys- fqrPIaintiffBHanIHoqgs




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      Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 14 of 53 PageID #: 20
CIRCUIT COURT SUMMONS                                                                            NASHVILLE, TENNESSEE

                                                  STATE OF TENNESSEE                                              Xp First
                                           ,.       DAVIDSON COUNTY                                               F—I Alias
                               `';"•1            20T" JUDICIAL DISTRICT                                        ~ Pluries

              i-
            . .... 1 f     /                                                               CIVIL ACTION                       J101
                                                                                                                              ?
                                                                                           DOCKET NO. ~



                                                                         Plaintiff         Method of Service:

                                                                                           F-I Davidson County Sheriff
  Vs.
                                                                                           D Out of County Sheriff

  Mid South Waffles, Inc.                                                                  ~ Secretary of State

  Corporation Service Company, Registered Agent                                            ❑X Certified Mail

  2908 Poston Ave                                                                          0 Personal Service

  Nashville, TN 37203                                                                ~     ~ Commissioner of Insurance
                                                                     Defendant

 To the above named Defendant:
                                                                                    —DZw
 You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302,
 P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
 summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
 the Plaintiff's attorney at the address listed below.

 In case of your failure to defend this action by the above date, judgment by defauit will be rendered against you for the
 relief demanded 11 he complaint.
                   ~ ~ Z~/                                                                RICHARD R. ROOKER
 ISSUED:                b t~o                                                                     ou erc
                                                                                           Davidson Co y ennessee

                                                                              By:                        `
                                                                                                   epu       er



   ATTORNEY FOR PLAINTIFF I Thomas W. S                             IV; Meridian Law, PLLC
                    or
                                        12002 Richard Jones Road, Suite B-200
        PLAINTIFF'S ADDRESS             I Nashville, TN 37215

 TO THE SHERIFF:

        Please execute this summons and make your return hereon as provided by law.

                                                                                           RICHARD R. ROOKER
                                                                                                 Circuit Courter


 Received this summons for service this              day of                     , 20


                                                                                                   SHERIFF

                         m     To request an ADA accommodation, please contact Dart Gore at (615) 880-3309.


         Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 15 of 53 PageID #: 21
                                        RETURN ON PERSONAL.SERVICE OF SUMMONS

I hereby certify and return that on the                               day of                                                       , 20            I:


                      served this summons and complaint/petition on

                                                                                                                      in the following manner:



                      failed to serve this summons within 90 days after its issuance because




                                                                                            Sheriff/Process Server

                                             RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the                        day of                                 20           1 sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                to the defendant,                                                            On the                       day of

                                                         , I received the return receipt for said registered or certified mail, which had been signed
                                           20
by                                          on the                   day of                                             ,20            Said return

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.



SWORN TO AND SUBSCRIBED BEFORE ME ON THIS
             DAY OF                                           20                             PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                             AUTHORIZED BY STATUTE TO SERVE PROCESS


             NOTARY PUBLIC or                         DEPUTY CLERK
MY COMMISSION EXPIRES:


                                    NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal property exemption from execution or seizure to satisfy a judgment. If a judgment                             ATTACH
should be entered against you in this action and you wish to claim property as exempt, you
must file a written list, under oath, of the items you wish to claim as exempt with the clerk of                       RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless it is filed before the judgment becomes final, it will not be effective as to any                      RECEIPT
execution or garnishment issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of necessary wearing apparel                             HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the family Bible, and school books. Should any of these items be seized,                (IF APPLICABLE)
you would have the right to recover them. If you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer.

STATE OF TENNESSEE                                   I, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVIDSON                                   do hereby certify this to be a true and correct copy of the original summons issued
                                                     in this case.
                                                                                  RICHARD R. ROOKER, CLERK
(To be completed only if
copy certification required.)
                                                                                  By:                                                       D.C.

            Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 16 of 53 PageID #: 22
                                             ..w..            ~...
                                                              l      1




        IN THE CIRCUIT COLTRT Fo                                         :991UNTY, TENNESSEE

BRIAN HOOGS

       Plaintiff,
                                        ~                            Case No.
vs.                                                       )
                                                          )              JURY DEMAND
WAFFLE HOUSE, INC.                                        )
and MID SOUTH WAFFLES, INC.                               )
                                                          )
       Defendant.                                         )


                                        COMPLAINT


       Comes now the Plaintiff, Brian Hoogs, by and through counsel, and states the following

causes of action against the Defendants, Mid South Waffles, Inc. and Waffle House, Inc.:

                                        I.            Parties

      1.      Plaintiff, Brian Hoogs ("Ms. Hoogs ") is a citizen and resident of Davidson

County, Tennessee.

       2.     Defendant, Wa&le House, Inc. ("Waffle House"), is a Georgia corporation

registered to do business in Tennessee. Waffle House may be served on its registered agent,

Corporation Service Company, located at 2908 Poston Ave, Nashville, Davidson County,

Tennessee 37203.

       3.     Defendant, Mid South Waffies, Inc. ("Mid South Waffles"), is a Georgia

corporation registered to do business in Tennessee. Mid South Waifles is a subsidiary of Waffle

House and may be served on its registered agent, Corporation Service Company,.•located at'2908.-..
                                    .
                                                                                     . • .• .   . . -•.       . . .      ..
Poston Ave, Nashville, Davidson County, Tennessee 37203.

                                                                                                A. • .    .           ' i..




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 17 of 53 PageID #: 23
                                 II.     Jurisdiction and Venue

         4.    This Court has subject matter jurisdiction over this dispute pursuant to Tenn. Code

Ann. § 16-10-113, et seq.

         S.    This Court has personal jurisdiction over Defendants. See Tenn. Code Atui. § 20-

2-202.

         6.    This Court is the proper venue to hear this dispute. All or substantially all of the

events or omissions giving rise to Mr. Hoogs' claims occuned in Davidson County, Tennessee.

See Tenn. Code Ann. § 20-4-101.

         7.    This is an action for declaratory relief, injunctive relief, equitable relief, and

damages for unlawful employment practices under the Tennessee Public Protection Act, Tenn.

Code Ann. § 50-1-304; Title VII of the Civil Rights Act, 42 U.S.C. § 2000e et seq. (included upon

administrative exhaustion); Tennessee Human Rights Act, Tenn. Code Ann. § 4-21-401; the

American's with Disabilities Act, 42 U.S.C. § 12101 et seq., as amended by the ADA Amendments

Act of 2008 (included upon administrative exhaustion); the Tennessee Disability Act, Tenn. Code

Ann. § 8-50-103; and Tennessee common law. Plaintiff timely filed a Charge with the Equal

Employment Opportunity Commission to vindicate rights pursuant to Title VII of the Civil Rights

Act and the Americans with Disabilities Act, as amended by the ADA Amendments Act of 2008.

Plaintiff incorporates by reference, with the intent to later amend upon receipt of his Notice of Suit

Rights, to include federal claims under Title VII and the ADA, as those claims are related to the

same case and controversy.




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 18 of 53 PageID #: 24
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                                       III.       Facts

       8.    From approximately August 2013 to January 14, 2016, Mr. Hoogs was an employee

of Mid South Waffles and Waffle House. Prior to December 3, 2015, Mr. Hoogs was a Division

Manager.

       9.    As a Division Manager, Mr. Hoogs was entitled to valuable stock options and

benefits.

       10.   As a Division Manager, Mr. Hoogs was entitled to periodic performance bonuses.

       11.   Wa#fle House has more than 500 employees.

       12.   Mid South Waffles has more than 500 employees.

       13.   During his time as a Division Manager, Mr. Hoogs' immediate supervisor was Sam

Byrd ("Mr. Byrd").

       14.   Throughout his employment with Mid South Waffles and Waffle House, Mr.

Hoogs was an exemplary manager who received no discipline for his performance.

       15.   Prior to November 23, 2015, Mr. Hoogs witnessed Mr. Byrd make sexually and

raciaUy discriminatory statements towards severai Waftle House and Mid South Waffles

employees. These remarks created a hostile work environment for Mr. Hoogs and other

employees.

       16.   On November 23, 2015, Mr. Hoogs reported Mr. Byrd's sexually and racially

discriminatory statements and other matters that created a hostile work environment to Waffle

House and Mid South Waffles' Senior Vice President, Joe Rogers ("Mr. Rogers").




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 19 of 53 PageID #: 25
          17.      On November 27, 2015, Mr. Hoogs reported additional sexuaUy and racially

discriminatory and harassing statements by Mr. Byrd to Mr. Rogers, as well as other matters that

created a hostile work environment.

          18.      Six days later, on December 3, 2415, Mr. Hoogs was demoted from Division

Manager to District Manager, resulting in a significant reduction in compensation and benefits.

          19.      Despite this demotion, Mr. Hoogs continued to perform his job responsibilities

exceptionally, receiving no discipline.

          20.      Zn December 2015, Mr. Hoogs was demoted again without explanation to Store

Manager, resulting in another significant reduction in compensation and benefits.

          21.      One month after his initial demotion, in January, 2016, Mr. Hoogs' employment

was terminated without explanation by Mid South Waflles and Waffle House.

          22.      Mr. Hoogs' two demotions and subsequent termination were the result of his

reporting of Mr. Byrd's sexuaUy and racially discriminatory and harassing remarks.

          23.      As a direct and proximate result of the Defendants' unlawful acts, Mr. Hoogs

suffered and continues to suffer emotional pain, suffering, professional and personal

embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

benefits.

                                             IV. Claims

   A.           Violation of the Tennessee Public Protection Act, Tenn. Code Ann. § 50-1-304

          24.      Mr. Hoogs incorporates by reference paragraphs 1-23 of his Complaint as if restated

herein.

          25.      Mr. Hoogs was an employee of Waffle House and Mid South Watiles.


                                                    4


 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 20 of 53 PageID #: 26
        26.       Hostile work environment sexual and racial harassment is prohibited by Title VII

of the Civil Rights Act of 1964.42 U.S.C. § 2000e-2.

          27.     Hostile work environment sexual and racial harassment is prohibited by the

Tennessee Human Rights Act. Tenn. Code Ann. § 4-21-401

          28.     Mr. Hoogs refused to stay silent about the illegal sexual and racial harassment he

witnessed being performed by Mr. Byrd.

        29.       Mr. Hoogs twice reported the illegal harassment to Mr. Byrd's supervisor, Mr.

Rogers.

        30.       Because Mr. Hoogs reported the illegal harassment to Mr. Rogers, his employment

was terminated.

        31.       Reporting illegal sexual and racial harassment in no way served Mr. Hoogs' interest.

He reported the abuse in the interest of protecting the well-being of the employees under his

responsibility.

       32.        Reporting illegal sexual and racial harassment serves the public interest of

Tennessee.

       33.        As a direct and proximate result of the Defendants' unlawful acts, Mr. Hoogs

suffered and continues to suffer emotional pain, suffering, professional and personal

embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

benefits.

        34.       As a result, Mr. Hoogs is entitled to recover his damages, including lost wages and

benefits, compensatory and punitive damages, attorneys' fees, costs, interest, front pay and

benefits, and any other legal and equitable relief to which he may be entitled.


                                                   W


  Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 21 of 53 PageID #: 27
          B.    Retaliation in Violation of the Title VII of the Civil Rights Act, 42 U.S.C. §
          2000e et seq. (included upon eshaustion) and the Tennessee Human Rights Act,
          Tenn. Code Ann. § 4-21-401

          35.    Mr. Hoogs incorporates by reference paragraphs 1-34 of his Complaint as if restated

herein.

          36.   Waffle House has more than five hundred (500) employees.

          37.   Mid South Waffles has more than five hundred (500) employees.

          38.   Mr. Hoogs was qualified for his position.

          39.   Mr. Hoogs performed his duties diligently and received no reprimands for his

performance during his employment.

          40.   Mr. Hoogs engaged in protected activity by complaining about acts in violation of

the Tennessee Human Rights Act (and Title VII upon administrative exhaustion), including

ongoing racial discrimination and sexual harassment.

          41.   In retaliation for Mr. Hoogs' protected activities, he was subjected to immediate

hostility, multiple demotions within days of complaining, and his employment was ultimately

terminated.

          42.   Mr. Hoogs' two demotions and ultimate termination was based entirely on his

legally protected reporting of racial and sexual harassment by Mr. Byrd.

          43.   Through their actions, Defendants deprived Mr. Hoogs of equal employment

opportunities and benefits due to him due to his willingness to oppose such practices.

          44.   Defendants' actions in demoting and terminating Mr. Hoogs and causing him to

sufffer through a hostile work environment were committed with reckless disregard for his right to




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 22 of 53 PageID #: 28
be free from retaliation because of his opposition to unlawful practices in violation of the Tennessee

Human Rights Act (and Title VII upon administrative exhaustion).

          45.   Mr. Hoogs filed an unlawful retaliation charge with the Equal Employment

Opportunity Commission on September 22, 2016.

          46.   As a direct and proximate result of the Defendants' unlawful acts, including

Defendants' discriminatory and harassing conduct and its creation of a hostile work environment,

Mr. Hoogs suffered and continues to suffer emotional pain, suffering, professional and personal

embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

benefits. He is entitled to all damages allowable under the Tennessee Human Rights Act, including

attorneys'fees.

          47.   Mr. Hoogs will amend his Complaint to include claims under Title VII for

retaliation upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

          C.    DiscrLnination in Violation of the Tltle VII of the Civil Rights Act, 42 U.S.C.
          § 2000e et seq. (included upon exhaustion) and the Tennessee Human Rights Act,
          Tenn. Code Ann. § 4-21-301 and -401

          48.   Mr. Hoogs incorporates by reference paragraphs 1-47 of his complaint as if restated

herein.

          49.   Waffle House has more than five hundred (500) employees.

          50.   Mid South Waffles has more than five hundred (500) employees.

          51.   Mr. Hoogs is an Asian-American.

          52.    Mr. Hoogs' was the subject of unwelcome verbal conduct by Mr. Byrd involving

Mr. Hoogs' status as an Asian-American.




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 23 of 53 PageID #: 29
          53.   The harassing statements made by Mr. Byrd unreasonably interfered with Mr.

 Hoogs' work environment and created an intimidating, hostile, and offensive work environment.

          54.    Mr. Hoogs provided notice of this conduct to Waffle House and Mid South Waffles

 through their Vice President, Mr. Rogers.

          55.   Waffle House and Mid South Waffles did nothing to address the intimidating,

 hostile, and offensive work environment in response to Mr. Hoogs' legally protected notice.

          56.   Mr. Hoogs filed a racial harassment charge with the Equal Employment

 Opportunity Commission on September 22, 2016.

          57.   As a direct and proirimate result of the Defendants' unlawful discrimination on the

 basis of his race and national origin, as well as its creation of a hostile work environment, Mr. Hoogs

 suffered and continues to suffer emotional pain, suifering, professional and personal

, embarrassment, humiliation, loss of enjoyment of life, inconvenience and lost earnings and

benefits.

          58.   Mr. Hoogs will amend his Complaint to include claims under Title VII for

 discrimination upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

          D.    Discrimination in Violation of the American's with Disabilities Act, 42 U.S.C.
          § 12101 et seq., as amended by the ADA Amendments Act of 2008 (included upon
          exhaustion) and the Tennessee Disability Act, Tenn. Code Ann. § 8-50-103

          59.   Mr. Hoogs incorporates by reference paragraphs 1-58 of his complaint as if restated

herein.

          60.   Mr. Hoogs is a qualified individual with a disability and/or perceived as an

individual with a disability. Mr. Hoogs was hired by Defendants on or around August 2013.




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  Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 24 of 53 PageID #: 30
       61.       Mx. Hoogs was afflicted with health issues, including depression, anxiety, and

attention deficit disorder ("ADD"), throughout his employment by Defendants. Mr. Hoogs

sought medical treatment for those issues.

       62.       Mr. Hoogs made his health conditions and impairments known to Defendants

during his employment.

       63.       Mr. Hoogs was able to perform the essential functions of his job with or without

reasonable accommodation.

       64.       Mr. Hoogs requested accommodation from Defendants shortly before his

tenmination.

       65.       Defendants refused the requested accommodation and instead further demoted

Mr. Hoogs and eventually terminated his employment.

       66.       Defendants failed to engage in an interactive process to determine if

accommodation could be made without undue burden or hardship.

       67.       Defendants discriminated against Mr. Hoogs on the basis of his disability and/or

perceived disability.

       68.       Defendants terminated Mr. Hoogs' employment as a result of his disability and/or

perceived disability.

       69.       Defendants' actions against Mr. Hoogs were pretext for discrimination, retaliation,

and interference and were against public policy.

       70.       Defendants acted willfully and maliciously or with reckless indifference to Mr.

Hoogs' rights.




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 Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 25 of 53 PageID #: 31
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                71.   As a direct and proximate result of Defendants' unlawful acts, Mr. Hoogs has lost

      income and other benefits of employment; suffered and continues to suffer emotional pain,

      suffering, professional and personal embarrassment, humiliation, loss of enjoyment of life,

      inconvenience, damage to his reputation, emotional distress, undue stress and anxiety,

      exacerbation of his medical conditions and loss of enjoyment of life; and incurred attorney's fees

      and expenses.

                72.   As a result, Mr. Hoogs is entitled to recover his damages, including lost wages and

      benefits, compensatory and punitive damages, attorneys' fees, costs, interest, front pay and

      benefits, and any other legal and equitable relief to which he may be entitled.

                73.   Mr. Hoogs will amend his Complaint to include claims under the ADA for

      discrimination upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

                                            V.       Prayer for Relief

                WHEREFORE, PREMISES CONSIDERED, Mr. Hoogs prays for the following relief•

                1.    That proper process issue and be served upon Waffle House and Mid South Waffles

      and that they be required to appear and answer this Complaint within the time required by law;

                2.    That this case be tried to a jury of six;

                3.    Enter a judgment in favor of Plaintiff and against Defendants on all counts in this

      action;

                4.    That Plaintiff be awarded a declaratory judgment that Defendants violated the

      aforementioned laws identified in this Complaint;

                S.    That this Court enter a permanent injunction prohibiting Defendants from

      engaging in unlawful employment practices;


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       Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 26 of 53 PageID #: 32
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            6.      That:the,, Cbutt awoird PIdintiff -back pay and. front,pay in an amount to be
                          ,
    ~deteftne&av
          m     & ,613,Al of''thig;casei

            7.      Thav-thd-Court award. Pla'ilntilff coMpensatory -and punitive damages in, aii ainouiit.

    to`be-, eferrriihed,W,- theAA ti bf'fac-qi
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            9.      Thatahe Court.award.`PlMo0ff ' -Wt         and."liqwdated darn

            9.      ThitAhen.
                            C'"*ur't-a 'afdTlaintiffh-is.,   o le4itomevslfees,expenses
                                                           ._s__nabl.
                                                         rea                          ' a fid ,Costs';

                    thAt"'the Cburtlawatd.-Plaintiff prieJudgmentand, r)ost-judgment interest;

            111     7'. atalLcostsoft is causerbe taxed mDefendants-- and

            11.     That the: (touft award -s"uch .6ther" and, further reli-if to which Plaitififf may be




                                                   Res.pectfully s*ubmitted)
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                                                    615 229-749 8 (fix)
                                                    tom.shumate@meridian.law
                                                    Atto rn eys fo r Pla in tiffB ria n Ho ogs




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     Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 27 of 53 PageID #: 33
CIRCUIT COURT SUMMONS                                                                          NASHVILLE, TENNESSEE

                                                STATE OF TENNESSEE                                          R First
                                                 DAVIDSON COUNTY                                            X Alias
                                                                                                            R
                                               20T" JUDICIAL DISTRICT                                       R Pluries



 Brian Hooqs                                                                          CIVIL ACTION
                                                                                      DOCKET NO. 16C3101




                                                                    Plaintiff         Method of Service:


 Vs.
                                                                                     D Davidson County Sheriff
                                                                                      ~ Out of County Sheriff

 Waffle House, Inc.                                                                   ~ Secretary of State

 Corporation Service Company, Registered Agent                                        Z Certified Mail

 2908 Poston Ave                                                                     ~ Personal Service

 Nashville, TN 37203                                                                 ~ Commissioner of Insurance
                                                                 Defendant

To the above named Defendant:

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302,
P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff's attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the
relief demanded in the c plaint.
                  J       ~          /~                                              RICHARD R. ROOKER
ISSUED:                             /                                                     ircui ou er
                                                                                      Davidson County, Tennessee

                                                                         BY:                   oyLePaw/
                                                                                                epu
                                                                                                  y Cler k



  ATTORNEY FOR PLAINTIFF             I Thomas W. Shumate, IV; Meridian Law, PLLC
                 or                      2002 Richard Jones Road, Suite B-200

     PLAINTIFF'S ADDRESS             I Nashville, TN 37215

TO THE SHERIFF:

       Please execute this summons and make your return hereon as provided by law.

                                                                                          IiAR~D R. ROOKER
                                                                                           Gircuii'Court Clerk
                                                                                           '   `4 oi.
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                                                                                                    a
                                                                                                        ~
Received this summons for service this            day of
                                                                                          •~            ,
                                                                                          <             o

                                                                                      , , : •° SH~R~~F
                       ® To request an ADA accommodation, please



        Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 28 of 53 PageID #: 34
                                        RETURN ON PERSONAL SERVICE OF SUMMONS

I hereby certify and return that on the                               day of                                                        20            I:


                      served this sumrrions and complaint/petition_on

                                                                                                                       in the following manner:



                      failed to serve this summons within 90 days after its issuance because




                                                                                              Sheriff/Process Server

                                              RETURN ON SERVICE OF SUMMONS BY MAIL

II hereby certify and re4urn, that on the                       day of                                  ,20        I sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                to the defendant,                                                             On the                     day of

                                                          I received the return receipt for said registered or certified mail, which had been signed

by                                         2on the                   day of                                              20           Said return

receipt i.s attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.



SWORN TO AND SUBSCRIBED BEFORE ME ON THIS
             DAY OF                                          .20                              PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                               AUTHORIZED BY STATUTE TO SERVE PROCESS



            NOTARY PUBLIC or                          DEPUTY CLERK

MY COMMISSION EXPIRES:


                                     NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal property exemption from execution or seizure to satisfy a judgment. If a judgment                              ATTACH
should.be entered against you in..this.action-and you..wish to claim.property.as.exempt, you.
must file a written list, under oath, of the items you wish to claim as exempt with the clerk of                        RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless it is filed before the judgment becomes final, it will not be effective as to any                       RECEIPT
                                                                                         ically
execution or garnishment issued prior to the filing of the list. Certain items are automat
exempt by law and do not need to be listed; these include items of necessary wearing apparel                             HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the                                 . Should any of these items be seized,             (IF APPLICABLE)
you would have the right to r                                  erstand your exemption right or how
to exercise it, you may wish ii   o,;~ "*`Z                    r.
                            .                       • •
 STATE OF TENNE                                        R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
 COUNTY OF DAVI                              do ~       certify this to be a true and correct copy of the original summons issued
                       ;               — ~ : n this
                       •              ~` " '~"       '                     RICHARD R. ROOKER, CLERK
 (To be completed onl if* r     ~•         ~~~~
 copy certification requi t~ ~   '            40 ~
                           ~~~    ..... G~':
                               I~+..00           ~                         By:              ✓                                     D.C.


          Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 29 of 53 PageID #: 35
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"             IN THE CIRCUIT COURT ,,FOJiDAYIDSON COUNTY, TENNESSEE

      BRIAN.HOOGS                       2016 NOV 28 PM)3: 2b
                                             M~
            Plainiiff,
                                                                .Case No.
      VS.
                                                         )      JURY I)EMAND
      WAFFLE HOUSE, INC.                                 )
      and MID SOUTH WAFFLES, INC.                        )
                                                         ).
             Defendant.                                  ).


                                              COMPI.ATNT


             Comes;riow the Plaintiff,:Brian Hoogs, by and throtigh counsel, and states the following

      causes of action against the Defendants, Mid South_Waffles, Inc. and Waffle House, Inc:;

                                              I.      Parties

             1.     Plaintiff, Brian Hoogs ("Ms. Hoogs") is a citizen and resident of Davidson

      County; Tennessee.

             2.     Defendant, Waille House, Inc: (" Waffle House"), is a: Georgia corporation

      registered to do, business in Tenriessee. Waffle House may be :served on its. registered agent,.

      Corporation Service Company, located at 2908 Poston Ave, Nashville;: Davidson County,

      Tennessee 37203.

             3.     Defendant; Mid South Waffles, Inc. ("Mid South Wa.flles"),. is a.Georgia

      coi-poration registered to do business•in Tennessee. Mid South Waflles is a subsidiary of Waflle

      House and may be served on its: registered agent; Corpocatiori Service Company, located at 2908

      Postoin Ave, Nashville, Davidson County, Tennessee. 37203.




        Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 30 of 53 PageID #: 36
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                                      U.      jurisdiction and Venue

              4,    This Court has.subject matter jurisdiction over this dispute pursuant to Tenn. Code

     Ann. § 16-10-113, et seg:

              5.    'This Court has personal.jurisdiction over Defendants. See.Tenn. Code.Ann. § 20-

     2-202.

              b:    This Court is the proper venue to.hear this.dispute. All or substantially'all.of the

     events or, omissions giving rise to Mr. Hoogs' claims occurred in Davidson County, Terinessee.

     See Tenn: Code, Ann. § 20-4-101.

              7.    This is an action for declaratory relief, .injunctive relief;, equitable relief, and

     damages for unlawful employment practices under the Tennessee Public Protection Act, Tenn.

     Code Ann. § 50-17304; Title VII of.the Civil Rights Act; 42 U.S.C. § 2000e et seq. (included upon

     administrative exhaustion); Tennessee Human Rights Act, Tenn. Code' Ann. § 4-21-401; the

     American's with Disabilities Act, 42 U:S.C. § 12101 et seq., as amended by the ADA Amendments

     Act of 2008 (included upon administrative exhaustion); the Tennessee Disatiility Act, Tenn. Code

     Ann. § 8-50-103; and Tennessee common law; Plaintifff ztimely filed, a Charge with the Equal

     Employment Opportunity Commission to vindicate rights pursuant to Title VII.of the Civil Rights

     Act,and the Americans with Disabilities Act, as amended by the ADA,Amendments.Act of 2008.

     Plaintiffincorporates by reference, with the intent to later amend upon receipt of his Notice of Suit

     Rights, to include federal elaims uridet Title VII and the ADA, as those claims are related to the

     same case and controversy.




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       Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 31 of 53 PageID #: 37
m
                                        III.    Facts

       8.     From approximately,;August 2013 to January 14, 2016; Mr. Hoogs was an employee

of.IVlid South Waftles and Waflle. House. Prior to December: 3, 2015, Mi. Hoogs was a, Division

Manager.

       9:     As a Division Manager, Mr. Hoogs was entitled 'to valuable stock options and

benefits.

       10.    As a Divisiori Manager; Mr. Hoogs was entitled to periodic performance bonuses.

       11:    Waffle.House has more than 500.employees.

       12.    Mid South Waf'iles has more than 500 employees:

       13.    During his time,as a Division Manager; Mr. Hoogs' immediate supervisor was Sam

Byrd ("Mr. Byrd").

       14.    Throughout. his employment with Mid South WaR`les and Wafl:le House; Mr.

Hoogs was an exemplary manager who.received no discipline for his performance.

       15.    Prior'to November 23, 2015, Mr. Hoogs witnessed Mr. 'Byrd make sexnally and

racially discriminatory statements towards several Waffle House and 1Viid' South Waffles

employees. These remarks created. a hostile work environment for Mr. Hoogs and other

employees.

       16.    On November 23, 2015, Mr. Hoogs .reported Mr. Byrd's sexually and racially

discriminatory statements and other matters that created:a hostile work environment to Waffle

House arid Mid South Waffles' Senior Vice President, Joe Rogers (" Mr. Rogers "):




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  Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 32 of 53 PageID #: 38
Copy.

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             17.        On November 27, 2015, Mr. Hoogs reported additional sexually and racially

    discriminatory and harassing statements by Mr. Byrd to Mt..Rogers, as well as.other matters that

    created a hostile work environment.

             18.        Six days. later, on December 3, 2015, Mr._ Hoogs .was demoted from Division

    Manager to District Manager, resulting.in a significant reduction in compensation and bene6ts.

              19:       Despite this deinotion, Mr. Hoogs continued to perform his job responsibilities

    eXceptionally, receiving no discipline.

              20.       In December 2015, Mr. Hoogs was demoted again without explanation to Store

    Manager; resulting in.ano.ther significant reduction in compensation and.benefits:

              21'.      One month after hi's initial demotion, in January, 2016, Mr. Hoogs" employment

    was terminated without explanation by Mid South' Wailkles and Wafhe House.

              22.       Mr: Hoogs' two demotions and subsequent terminatiori. were 'the result of his

    reporting of Mr. Byrd's sexually and racially discriminatory and harassirig remarks.

              23.       As a direct and proximate .result of the Defendants' unlawful acts, Mr. Hoogs

    suffered and continues to suffei emotional pain, suffering, professional and personal

    embarrassment; humiliation, loss of enjoyment of life; inconvenience and lost earnings and

    bene6ts.

                                                  IV.    Cla.uns

        A.           Violation of the,Tennessee Pubtic Protection Act, Tenn. Code Ann. § 50-1-304

              24.       Mr. Hoogs incorporates by reference paragraphs 1-23.of his Complaint as if restated

    herein.

              25.       Mr. Hoogs:was an employee of WaTe House and Mid South WaMes.


                                                         4'


      Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 33 of 53 PageID #: 39
go
1          26.        Hostile. work environment sexual and racial harassment is prohibited by Title VII

    of the Civil Rights.Act of 1964: 42 U.S.C. § 2000e-2.

           27.        Hostile work environment sexual and racial harassment is prohibited by the

    Tennessee Human Rights Act. Tenn. Code Ann..§ 4-21401

           28.        Mr. Hoogs refused to stay silent about the illegal sexual and racial harassment he

    witnessed.being performed by Mr. Byrd.

           29.        Mr: Hoogs twice reporfed the illegal . harassment to Mr. Byrd's supervisor, Mr.

    Rogers.

           30:        Because Mr. Hoogs,reported the illegal harassment to Mr. Rogers, his employment

    was terminated.

           31.        Reporting iliegal sexual and racial harassment in no way served Mr. Hoogs 'interest.

    He reported the abuse in :the interest of protecting the well-being of the employees under his

    responsibility.

           32:        Reporting 'illegal sexual and racial harassment 'serves .the public interest of

    Tennessee.

              33.     As 'a direct and proximate result of the Defendants' unlawful acts, Mr. Hoogs

    suffered and continues to suffer emotional, pain, sufl`'ering, 'professional :and personal

    embarrassment; humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benef ts.

              34.     As a result, Mr..Hoogs is entitled to recover his damages; including lostwages and

    benefits; compensatory and punitiv.e damages, attorneys' fees, costs, interest, front pay and

    benefits; and any other legal and equitable relief to which he may be entitled.


                                                        .1


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'             B.    Retaliation in Violation of the Title VII of the Civil'Rights Act, 42 U.S.C. §'
              2000e et seq. (included upon ex.haustion) and the Tennessee Huunan Rights Act,
              Tenn. Code Ann. § 4-21-7 401

              35.    Mr. Hoogs incorporates by reference paragraphs 1-34 of his Complaint as if restated

    herein.

              36.    WaflFle House has inore than five hundred (500) employees.

              37.    Mid South Waffles has more than five hundred: (500) einployees.

              38:.   Mr; Hoogs was qualified for his position.

              39.    Mr. Hoogs performed his duties diligently and received no reprimands for his

    performance during his employment.

              40.    Mr. Idoogs engaged in protected activity by complaining about acts in violation of.

    the Tennessee Human Rights Act (and Title VII upon administrative exhatistion), iincluding

    ongoing racial discrimination and sexual harassment..

              41.    In retaliation. for. Mr. Hoogs' protected activities, he was subjected to irnmediate

    hostility, multiple demotions withiri days of 'complaining, and .his employment was ultimately

    terminated:

              42.    Mr. Hoogs' two demotions and uttimate termination was based entirely ori his

    legally protected reporting of racial and,sexual harassment by Mr. Byrd.

              43.    Thiough their actions, Defendanis deprived Mr. Hoogs of equal employment

    opportunities-and beinefits due to him due to.his willingness to oppose such practices.

              44.    Defendants' actions in.demoting and terminating Mr. Hoogs and causing him to

    suff'er through a hostile work environment were committed with reckless.disregard for his right to




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   be free from retaliation because of his opposition to iunlawful.practices in violation of the Tennessee

   Human Rights Act (and Title VII upon administiative exhaustion)..

           45.       Mr. Hoogs filed an unlawful retaliation charge with the Equal Employment

   Opportunity Conimission on September 22, 2016.

              46..   As a direct and `proxiinate ,result of the Defendants' unlawful acts, including

   Defendants''.discriminatory and harassing coriduct and its creation of a hostile work environment;

   Mr.. Hoogs suffered and cointinues to suffer emotional pain, suffering, professional and personal

   embarrassment, .humiliation, loss of enjoymerit of life; ihconvenience and lost earnings and

   benefits. He is entitled to all damages allowable under the Tennessee Human Rights Act, including

    attorneys' fees.

              47.    Mr: Hoogs will amend his Complaint to include -ciaims under Title VII for

    retaliation upon administrative exhaustion andthe issuance ofthe Notices of Rights to Sue.

              C.    Discrimination in:Violation of the Title VII,of the Civil.Rights Act, 42 U.S.C.
              § 2000e. et seq: (included upon exhaustion) and the Tennessee Human R_ ights Act,
              Tenn. Code Ann. § 4-21-301.and -401

              48.    Mr..Hoogs.iricorporates by reference paragraphs 1-47 of his complaint as if restated.

    herein:

              49.    Waflle House has more than five hundred (500) employees.

              50.    Mid South WaMes has more than five hundred (500) employees.

              51.    Mr: Hoogs is an Asian-American.

              52.    Mr. Hoogs' was. the.subject of unwelcome verbal conduct by Mr. Byrd involving

    Mr. Hoogs' status as an Asian-American.




                                                       7


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    C opy .

                53:      The harassing statements made by Mr. Byrd unreasonably interfered, with Mr:
,
         Hoogs' work environment.and createdzari.intimidating, hostile, and offensive work,environment.

                54.      Mr. Hoogs provided notice of.this conduct to Waffle House and Mid South* Waflles

         througii:their Vice Presiderit, Mr: Rogers.

                55.      Waffle, House and Mid South Waflles did _nothing to address the- intimidating,,

         hostile, and_offensiv.e'work environment in response.to Mr; Hoogs' legally protected notice.

                56:      Mr. Hoogs filed :a racial 'harass.ment charge - with. the Equal Employment

         Opportunity Commission on September 22; 2016:

                   57.   As a direct and proximate result of the Defendants' unlawful discrimination on the

         basis of his race and nationaZ otigin, as well as its creation of a hostile work environment; Mr: Hoogs

         sutl'ered: and continues to suffer emotional pain, suffering; professional and, personal

         embarrassment, humiliation, ,loss of enjoyment, of life, inconvenience and lost earnings "and

         benefits.

                   58.   Mr. Hoogs wil! ,amend his Complaint to, include claims under Title VII for

         discrimination upon.administrative,exhaustion:and the issuance of theNotices of Rights to Sue.

                   D.    Discrimination in,Violation ofthe.American's with DisabilitiesAct, 42 U.S.C.
                   § 12101 et seq., as-amended by the ADA Amendments Act of 2008 (incladed upon
                   exhaustion) and the Tennessee Disability Act; Tenn. Code Ann. § 8-50=103

                   59,   Mr. Hoogs incorporates by reference paragraphs-1758 of his.complaint as. if restated

         herein.

                   60.   Mr. Hoogs is. a qualified individual "with a disability and/or perceived as an

          individual with a disability. Mr. Hoogs was hired by Defendants on or around August 2013.




                                                            8


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'                                                           .
~          61.        Mr. Hoogs was afflicted with health ~ssues,. i ncluding depression, anxiety, and

    attention deficit disorder ("ADD"), throughout his employment by Defendants. Mr.. Hoogs

    sought medical treatment for those issues:

           62.     1VIr. Hoogs made his health conditions and impairments known. to. Defendants

    during his employment.

           63.        Mr. Hoogs was able to perform the essential fiinctioris of.his job with or without

    reasonable accommodation.

           64.        Mr. Hoogs requested accommodation from .Defendants shortly before his

    termination.

           65.        Defendants refused the requested accommodation and instead further demoted

    Mr. Hoogs and eventually terminated his employment.

           66.        Defendants failed to engage in an interactive process to deterinine if

    accommodation could be made without undue btirden or hardship.

           67.        Defendants d.iscriininated,against Mr. Hoogs on the basis of his disability and/or

    perceived disability.

           68.        Defendarits tenninated Mr: Hoogs' employment as a Iresult of his disability and/or

    perceived disability.

           69:        Defendants' actions against Mr. Hoogs.were pretext for discrimination, retaliation;

    and interference and were against public policy:

            70.       Defendants acted willfully and maliciously or with reckless indifference to Mr.

    ,Hoogs' rights:




                                                       2

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~          7I.      As a direct and proximate result of Defendants' unlawful acts, Mr. Hoogs has lost

    income and other benefits of employment; suffered and continues: to. : suffer ernotional 'pain,

    suffering, professional .and personal embarrassinent; humiliation, loss of enjoyment of life,

    inconvenience, dacnage to his reputation, emotional -distress, undue stress and anxiety;

    exacerbation of his inedical conditions and loss of enjoyment of life; and incurred attorney's fees

    and expenses.

              72.   As at result, 'Mr. Hoogs is entitled to.recover his damages, including lost wages.and

    benefits; compensatory and punitive. damages, attorneys' fees, costs, interest, front pay and

    benefits, and any other legal and equitable relief to which he may be entitled..

              73.   IVIr. Hoogs will amend his Complaint to include claims under the ADA for

    discrimination.upon adininistrative exhaustion and the issuance.of the Notices of Rights to Sue.

                                          V.       Prayer for Relief

              WHEREFORE, PREMISES CONSIDERED, Mr. Hoogs prays for the following reGef:

              1.    That'proper.process issue and be served upon WailFle House and Mid South Waffles

    and that,they be requiced to appear and answer this Complaint within the time, required by law;

              2.    That this case be tried to a jury of six;

              3.    Enter a jiidgment in favor of Plaintifl''and against Defendants on "all counts in this

    action;

              4.    That Plaintiff be awaided a declaratory judgment that Defendants violated the

    aforementioned laws identi6ed in this Complaint;'

              5.    That this Court enter a permanent injunction prohibiting Defendants from

    engaging:in unlawful employment practices;


                                                      [D

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'          6.      That the Court award .Plaintifl• back pay and itont pay in. an amount to be

    determined at the trial of this case;

           7:      'That the Court award PlaintiEf coinpensatory and punitive damages in an amount

    to be determined by the trier of fact;

           8:      That the Court'award.Plaintiffpunitive and liquidated damages;

            9.     That the Court award Plaintiff his reasonable attorneys' fees, expenses, and costs;

           10.     That the Court'award Plaintiff prejudgment and post-judgment interest;

           11.     That.all costs of this cause be taxed to Defendants; and

           12:     That the Court award such other, and further relief to which Plaintiff inay be

    entitled.

                                                 Respectfully.submitted,


                                                 A   I
                                                   By:
                                                             MERI
                                                                       DIAN LAW
                                                                           PIIC



                                                   Thom           huniate IV # 9595)
                                                   Robert D. Martin (#034 38)
                                                  .2002 Richard Jones.Road, Suite B-200
                                                   Nashville, TN 37215
                                                   615-229-7499 (office)
                                                   615-229=7498 (fax)
                                                   tom:shumate@meridian.law
                                                   Attorneys for Plaintif, f BrYan Hoogs




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CIRCUIT COURT SUMMONS                          -'                                                                NASHVILLE, TENNESSEE

                                               STATE OF TENNESSEE                                                             [_~ First
                                                DAVIDSON COUNTY                                                               fx-1 Alias
                                              20T" JUDICIAL DISTRICT                                                          f-I Pluries



 Brian Hooqs                                                                                       CIVIL ACTION
                                                                                                   DOCKET NO: 16C3101



                                                                           Plaintiff               Method of Service:
                                                                                                   F~ Davidson County Sheriff
 Vs.
                                                                                                   F~ out of County Sheriff

 Mid South Waffles. Inc.                                                                           F-I Secretary of State

 Corporation Service Company, Registered Agent                                                     Z Certified Mail

 2908 Poston Ave                                                                                  ~ Personal Service

 Nashville, TN 37203                                                                              ~ Commissioner of Insurance
                                                                   Defendant
To the above named Defendant:

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302,
P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff's attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the
relief.demanded in the co plaint
                      i1 a~// ~                                                                   RICHARD R. ROOKER
ISSUED:               O`                                                                              ircui ou er
                                                                                                   Davidson County, Tennessee

                                                                                By:
                                                                                                                 Lieputy   Ulem


  ATTORNEY FOR PLAINTIFF I Thomas W                             IV; Meridian Law, PLLC
                 or
                                     12002 Richard Jones Road, Suite B-200
     PLAINTIFF'S ADDRESS             I Nashville, TN 37215

TO THE SHERIFF:

       Please execute this summons and make your return hereon as provided by law.

                                                                                        tl~ "~ ~.RICHARD R. ROOKER
                                                                                          A "0.


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                                                             P e %/.~a4n
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                                                                       ip/
                                                                         ~j, .~'. •~r,, c~,
Received this summons for service this           day of



                                                                           'ie:: `1{`                             SHERIFF
                                                                           A ~...
                       ~ To request an ADA accommodation,              coritact Dart-Gore.at (615) 880-3309.
                                                                         ~.;.:._t'
                                                                           av.


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                                          RETURN ON PERSONAL SERVICE OF SUMMONS.

I hereby certify and return that on the                                   day of                                                        20             I:


                       served this summons and complaint/petition on

                                                                                                                           in the following manner:




                       failed to serve this summons within 90 days after its issuance because




                                                                                                  Sheriff/Process Server

                                                 RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the                           day of                                    20        1 sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                  to the defendant,                                                            . On the                       day of

                                                            , I received the return receipt for said registered or certified mail, which had been signed
                                             20
by                                            on the                    day of                                               20           Said return

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.




SWORN TO AND SUBSCRIBED BEFORE ME ON THIS

              DAY OF                                              20                               PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                                   AUTHORIZED BY STATUTE TO SERVE PROCESS


             NOTARY PUBLIC or                           DEPUTY CLERK

MY COMMISSION EXPIRES:



                                       NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal property exemption from execution or seizure to satisfy a judgment. If a judgment                                 ATTACH
should be entered against you in this action and_ ..__you wish to claim_
must file a wntten I'ist, under oath, of the items you wish to claim as exempt with the clerk of                           RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless it is flled before the judgment becomes final, it will not be effective- as to any                         RECEIPT
execution or garnishment issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of necessary wearing apparel                                HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the family Bible, and s~         e@ . k     ul.d any of these items be seized,             (IF APPLICABLE)
you would have the right to recover them. lf cn                   R         our exemption righi or how
to exercise it, you may wish to seek the        ~                          •

STATE OF TENNESSEE                                                            f Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVIDSON                                                            ° to be a true and correct copy of the original summons issued

                                                                              ;         RICHARD R.-ROOKER, CLERK
(To be completed only if
copy certification required.)
                                                                                       By:                                                      D.C.


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                                                    ._. ,. ~~~

             IN THE CIItCUIT COURT ~'O~DAYIDSON COUNTY, TENNESSEE

     BRIAN.HOOGS                       2016 NOV 28 PM)3: 24

           Plaintiff,
                                      . • (~ '~ ..                 Case No.
                                                       _         ,.•~
     VS.
                                                           )        JURY DEMAND
     WAFFLE HOUSE, INC.                                    )
     and MID SOUTH WAFFZ,ES, INC:                          )
                                                           )
            Defendant.                                     ).


                                             COMPLAINT


            Comes;now the Plaintiff,:Brian Hoogs, by and throiigh counsel, and states the following

     causes.of action against the Defendants, Mid South.Waffles, Inc. and Waffle House, Inc:;

                                             I.      Parties

            1.     PlaintiPf, Brian Hoogs ("Ms. Hoogs") is a citizen and resident of Davidson

     County; Tennessee.

           ,2,     Defendant, Waflle House, Inc: (" Waffle House"), is a: Georgia corporation

     registered to do. business_ in Tennessee. Waflle House may be :served on its. registered agent,.

     Corporation Service Company, located at 2908 Poston Ave, Nashville;: Davidson County,

     Tennessee 37203.

            3.     Defendant; Mid South Waffles, Inc. ("Mid South Waffles"},. is a.Georgia

     corporation registered to do business, in Tennessee. Mid South Watlles is a subsidiary of Waftle

     House and may be served on its registered agent; Corporation Service Company, located at 2908

     Poston Ave, Nashville, Davidson County, Tennessee 37203.




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=                                      II.    Jurisdiction and Venue

             '4.    This Court has,subject matter jurisdiction o"ver this dispute pursuant toTenn. Code

    Ann. § 16-10-113, et seq:

             5.     This Court has personal.jurisdiction over Defendants. See.Tenn. Code.Ann. § 20-

    2-202.

             6:     This Court is the proper venue to. hear this.dispute. All or substantially'all of the

      events or. omissions giving rise to Mr. Hoogs' claims occurred in Davidson County, Teriinessee.

      See Tenn: Code, Ann. § 20-4-101.

             7.     This is an action fot declaratory relief, .injunctive relief; equitable relief, and

    damages for unlawful employment.practices under the Tennessee Public Protection Act, Tenn.

    Code Ann. § 50-17304; Title VII.of the. Civil Rights Act; 42 U.S.C. § 2000e et seq. (included upon

      administrative exhaustion); -Tennessee Human Rights Act, Tenn. Code' Ann. § 4-21-401; the

      American'swith Disabilities Act, 42 U:S.C. § 12101 et seq., as amended by the ADA Amendments

      Act of 2008 (included upon administrative exhaustion); the Tennessee Disability Act, Tenn. Code

      Ann. § 8-50-103;. and Tennessee common law; Plaintiff timely filed. a Charge witfi the Equal

      Employment Opportunity Commission to vindicate rights pursuant to Title VII.of the Civil Rights

      Act,and the Americans with Disabilities Act, as amended by the ADA,Amendments Act of 2008.

      Plaintiffiincorporates by reference, with the intent to latet amend upon receipt of his Notice ofSuit

      Rights, to include federal claims undet Title VII and the ADA, as those claims are related to the

      same case and controversy.




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        Case 3:16-cv-03315 Document 1-1 Filed 12/30/16 Page 44 of 53 PageID #: 50
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C o p,y
             ~.-



                                              III.   Facts

             8.    From approximately; August 2013 to January 14, 2016; Mr. Hoogs was an employee

      of IViid South Waflles and Wafl:le~House. Prior to December 3, 2015, Mr. Hoogs was a Division

      Manager.

             9:    As a Division Manager, Mr. Hoogs was entitled 'to valuable stock options and

      benefits.

             10.   As a Division Manager; Mr. Hoogs'was entitled to periodic perfotmance bonuses.

             11.    Waffle House has niore than 50o.employees.

             12.    Mid South Waffles has niore than 500 employees:

             13.    During his tsme :as a Division Manager, Mr. Hoogs' immediate supervisor was Sam

      Byrd (" Mr. Byrd").

             14.    Throughout his employment with Mid South Waflles and Wdffle House, Mr.

      Hoogs was an exemplary manager who.received no discipline for his performance.

             15.    Prior ' to November 23, 2415, Mr. Hoogs witnessed Mr. Byrd make sexually and

      racially discriminatory staterrients towards several Waffie House and IVIid' South Wafl:les

      employees. These remarks created. a hostile work environment for Mr. Hoogs and other

      employees.

             16.    On November 23, 2015, Mr. Hoogs .reported Mr. Byrd's sexually and racially

      discriminatory statements and other matters that created:a hostile work environment to Waffle

      House arid Mid South Waffles.' Senior Vice President, Joe Rogers ("Mr. Rogers "):




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               17: - On 'November 27, 2015, Mr. Hoogs reported additional sexually and racially

     discriminatoy and harassing statements by Mr. Byrd to Mr..Rogers, as well as,other.matters that

     created a hostile work.environment.

               18.       Six days later, on December 3, 2015, Mr., Hoogs. .was demoted from Division

     Manager to District Manager, resulting.in a significant redu.ction in compensation and benefits.

               19:       Despite this deinotion, Mr. Hoogs continued to perform his job responsibilities

     exceptionally, receiving no discipline.

               20.       In December 2015,- Mr. Hoogs was demoted again without explanation to Store

     Manager; resulting in another significant reduction in comperisation and.benefits:

               21'.      One month after hi's initial demotion, in January, 2016, Mr. Hoogs" employment

     was terminated without explanation by Mid South Wafifles and Wafile House.

               22.       Mr: Hoogs' two demotions and subsequent termination. were 'the result of his

     reporting of Mr. Byrd's sexually and racially discriminatory and harassing remarks.

               23.       As a direct and proximate .result of the Defendants' unlawful acts, Mr. Hoogs

     suffered and continues to suffei emotiorial pain, suffering, professional and personal

     embarrassment; humiliation, loss of enjoyment of life; inconvenience and lost earnings and

     benefits.

                                                   IV.    Cla.ims

          A.          Violation of the.Tennessee Public Protection Act, Tenn. Code Ann. § 504-304

               24.       Me. Hoogs incorporates by refetence paragraphs 1-23.of his Complaint as if restated

     herein.

               25.       Mr..Hoogs:was'an employee of 1lVaffle House and Mid South WaflEles.


                                                          4'



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           26.        Hostile work environment sexual and raciai harassment. is prohibited by Title VII

    of the Civil Rights.Act of 1964: 42 U.S.C. §1000e=2.

           27.        Hostile work environment sexual and racial harassment is prohibited by the

    Tennessee Human Rights Act. Tenn. Code Ann..§ 4-21401

           28.        Mr. Hoogs refused to stay silent about the illegal sexual and racial harassment he

    witnessed being performed by Mr. Byrd.

           29.        Mr: Hoogs twice reported the illegal.harassment to Mr. Byrd's supervisor, W.

    Rogers..

           30:        Because Mr..Hoogs.reported the illegal harassment to Mr. Rogers, his.employment

    was terminated.
                                       .
           31.        Reporting illegal sexual and racial harassment in no way served Mr. Hoogs' interest.

    He reported, the abuse iri :the interest of protecting the well-being of the employees under his

    responsibility.

           32:        Reporting illegal sexual and racial harassment 'serves the public interest of

    Tennessee.

           33.        As 'a direct and proximate result of the Defendants' unlawful acts, Mr,. Hoogs

    suffered and continues to suffer emotional pain, suffering, 'professional and personal

    embarrassment; humiliation, loss of enjoyment of life, inconvenience and lost earnings and

    benef ts.

            34.       As a result, Mr..Hoogs is entitled to recover'his damages; including lost wages and

    benefifs;, compensatory and ptinitive damages,. attorneys' fees, costs, interest, front pay and

    benefits; and.any other legal and equitable relief to which he may be entitled.


                                                        5

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'             B.    Retaliation in Yiolation of the Title VII of.the Civi1 Rights Act, 42 U.S.C. §'
              2000e et seq. (included upon exhaustion) and the Tennessee Htunan Rights Act,
              Tenn. Code Ann. § 4•21-401

              35.    Mr. Hoogs incorporates by reference paragraphs 1-34 of his'Complaint as if restated

    herein.

              36.    Waft1e House has inore than five hundred (500) employees.

              37.    Mid South Wafl'les has more than five hundred;(500)-employees.

              38:.   Mr: Hoogs was qualified for his position.

              39.    Mr. Hoogs performed his duties diligently and received no reprimands for his

    performance during his employment.

              40.    MT. Hoogs engaged in protected activity by complaining about acts in violation of.

    the Tennessee Human Rights Act (and Title VII upon administrative exhaustion), iiicluding

    ongoing racial discrimination and sexual harassment.

              41..   In retaliation. for. Mr. Hoogs' protected activities, he was subjected to immediate

    hostility, multiple demotions withiii days of "complaining, and .his employmerit was ultimately

    terminated:

              42.    Mr. Hoogs' two demotions and ultimate termination was based entirely on' his

    legally protected reporting.of racial and,sexual harassment by Mr. Byrd.

              43.    Through their actions, Defendanfs deprived Mr. Hoogs of equal employment

    opportunities-and benefits diie to him due to,his willingness to oppose such'practices.

              44.    Defendants' actions in.demoting and terminating Mr. Hoogs and causing him to

    sufi'er through a hostile work environment were committed with reckless.disregard for his. right to




                                                      Z

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`      be free from retaliation because of his opposition to unlawful practices in violation of the Tennessee

       Human Rights Act_(and Title VII upon administiative exhaustion)..

              45.       Mr. I-Ioogs filed an unlawful retaliation charge with the Equal Employment

       Opportunity Commission on September 22, 2016.

                 46..   As a direct and `proxiinate ,result of the Defendants' unlawfiil acts, including

       Defendants':discriminatoTy and harassing coriduct and its;creation of a hostile work environment;

       Mr.. Hoogs suffered and continues to sulfer emotional pain, suffering, professional and personal

       esnbarrassment, .humiliation, loss of enjoyment of life; inconvenience and lost earinings and

       bene6ts. He is entitled to all damages allowable under the Tennessee Human Rights Act, inciuding

       attorneys' fees.

                 47.    Mr: Hoogs will. amend his Complaint to include claims under Title VII for

       retaliation upon administrative exhaustion and the issuance of the Notices of Rights to Sue.

                 C.    Discrimination in.Violation ofthe Title VII of the,Civil.Rights Act, 42 U.S.C.
                 § 2000e. et seq.- (included upon exhaustion) and the Tennessee Human Rights Act,
                 Tenn. Code Ann. §4-21-301.and -401
                 48.    Mr..Hoogs,incorporates by reference paragraphs 1-47 of his complaint as if restated

       herein:

                 49.    Waffle House has more than five hundred (500) employees.

                 50.    Mid South Waffles has more than 6ve hundred (500)' employees.

                 51.    Mr: Hoogs is an Asian-American.

                 52.    Mr. Hoogs,' was, the.subject of unwelcome verbal conduct by Mr. Byrd involving

       Mt. Hoogs' status:as an Asian-American.




                                                         6


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          53.-     The harassing staterrients made by Mr. Byrd unreasonably, interfered, with Mr.

   Hoogs' work environment.and created an intimidating, hostile, azid offensive work,environment.

          54.      Mr. Hoogs provided notice of.this conductto Waftle House and Mid South' Wafiles

   througli,their Vice President, Mr: Rogers.

          55.      Waf;tle House and Mid South Waflles did .nothing to address tht intiinidating,.

   hostile, and.offensiv.e'work environment`in response.Eo Mr: Hoogs':legally protected notice.

          56:      Mr. Hoogs filed :a racial 'harassment charge with. the Equal Employment

   Opportunity Commission on September 22; 2016:

             57.   As a direct and proximate result of the:Defendants' unlawful discrimination on the

   basis of his race and nationaZ origin, as well as its creation of a hostile work environment; Mr: Hoogs

   sufl'ered: and coritinues to suffer emotional pain, suff'ering; professional and, personal

   embarrassment, humiliation, loss of enjoyment, of life, inconvenience and lost earnings 'and

   benefits:

             58.   Mr. Hoogs will. ,amend his Complaint to. include claim§ tiridei Title. VII for

   discrimination upon.administrative;exhaustion:and the issuance of the Notice's of Rights to Sue..

             D.    Discriaiination in,Violation of the.American's with Disabilities Act,.42 U.S.C.
             § 12101 et seq., as'amended by the ADA Amendments Act of 2008 (inclsided upon
             exhaustion) and the Tennessee Disability Act, Tenn. Code Ann. § 8-50-103

             59.    Mr. Hoogs incorporates by referenceparagraphs-175$ of, his:complaint as ifrestated

   herein.

             60.    Mr. I-ioogs is. a qualified irndividual "with a disability and/or perceived as an

   individual with a disability. Mr. Hoogs was hired by Defendants on or around August 2013.




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                                          .
~          61.      Mr. Hoogs was afEl ~cted with health ssues,~
                                                         i       including depression, anXiety, and

    attention deficit disorder ("ADD."), throughout his employment by .Defendants. Mr.. Hoogs

    sought medical treatment for those issues:

           62.      11iir. Hoogs made his health conditions and impairments known. to. Defendants

    during his einployment.

           63.        Ivlr. Hoogs was able to perform the essential fuiictions of.his job with or without

    reasonable accommodation.

           64.        Mr, Hoogs requested accommodation from .Defendants shortly before his

    termination..

           65.        Defendants refused the requested accommodation and instead fuither demoted

    Mr. Hoogs and eventually terminated his employment. .

           66.        Defendants failed to engage in an interactive process to determine if

    accommodation could.be made witliout undue burden or hardship.

           67.        Defendants discriminated,against Mr. Hoogs on the basis of his disability and/or

    perceived disability.

           68.      'Defendants terminated Mr. Hoogs' employment as a result of his disability and/or

    perceived disability:

           69:        Defendants actions against Mr. Ho.ogs:were pretext for discrimination, retaliation;

    and.interference and were against public policy:

            70.       Defendants acted willfully and maliciously or with reckless indifference to Mr.

    ,Hoogs' rights:




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&          71.       As a direct and proximate result of Defendants' unlawful acts, Mr. Hoogs has lost

    income and other benefits of employmeint; suffered and continues; to..suffer emotional 'pain,

    suffering, professional .and personal embarrassinent; huiniliation, loss of enjoyment of life,

    inconvenience, dainage to his reputation, emotional distress, undue stress and anziety;

    exacerbation of hi§ medical conditions and loss:of enjoyment of life; and incurred' attorney's fees

    .and expenses.

              72.    As a result, Mc. Hoogs is entitled to.recover his damages, including lost wages.and

    benefits; compensatory and punitive. damages, attorneys' .fees, costs, interest, front' pay and

    benefits, and any other legal and equitable relief to which he may be entitled.

              73.    IVIr. Hoogs will amend his Compiaint to include claims under the ADA for

    discrimination.upon-administrative exhaustion and the'issuance,of the Notices of Rights to Sue.

                                           V.       Prayer for Relief

              WHEREFORE, PREMISES CONSIDERED, Mr. Hoogs prays for the following relief:

              1.     That proper.process issue and be served upon Waflle House and Mid South Waffles

    and that.they be requiced to appear and answer this Complaint"within the time required by law;

              2.     That this case.be tried to a jury of six;

              3.     Enter' a jtidgment in favor of Plaintiff and against Defendants on -all counts in this

    action;

              4.     That Plaintiff be. awarded a declaratory judgment that Defendants violated the

    aforementioned laws identi6ed in this Complaint;

              S.     Thaf this Court enter a permanent injunction prohibiting Defendants from

     engaging in unlawful employment practices;


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~          6.      That the Court award .Plaintiff .back pay and itont pay in. an amount to be

    determined at the trial of this case;

           7:     'That the Court award Plaintiff compensatory and punitive damages"in an amount

    to be determined by the trier of fact;

           8:      That the Court'award,Plaintiffpunitive and liquidated damages;

           9.      That the Court award Plaintifl"his reasonable attorneys' fees, expenses, and cos.ts;

           10.     That the Court'award Plaintiffprejudgment and post-judgment interest;

           11.     That.all costs of this cause be taxed to Defendants; and

           12:     That the Court award such .other. and further relief to which Plaintiff :inay be

    entitled.

                                                 Respectfully.submitted,

                                                         ~ MERIDIAN LAW
                                                 /
                                                 /                         PLIC

                                                   By:
                                                   Thom        , humate'IV # 9595)
                                                   Robert D. Martin (#034 38)
                                                  .2002 Richard Jones.Road, Suite B-200
                                                   Nashville, TN 37215
                                                   615-229-7499 (office)
                                                   615-229=7498 (fax)
                                                   tom:shumate@meridian.law
                                                   Attorneys for Plaintiff Brian Hoogs




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